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                                                                              6


                                                                                            Apr 13, 2021

                              U NITED STA TES DISTRICT CO U RT
                              SO UTH ER N DISTRICT OF FLO R IDA
               21-20222-CR-WILLIAMS/MCALILEY
                           CA SE NO .
                                      18U.S.C.j371
                                      18U.S.C.j981(a)(1)(C)

   UN ITED STATES O F AM ERICA

   V:.

    RICARD O JA CK SO N ,

                 Defendant.



                                          IN FO RM ATIO N

           The Acting United StatesAttorney charges that:

           From in and around D ecem ber2016,and continuing through on oraboutJanuary 19,2017,

    in M iam i-Dade County,in the Southern D istrictofFlorida,the defendant,

                                       RICARD O JA CK SO N ,

    did know ingly and w illfully com bine,conspire,confederate,and agree with otherpersonsknow n

    and unknown to theA cting U nited StatesAttorney,to com m itan offenseagainstthe United States,

    thatis,to know ingly possess w ith the intentto distribute a controlled substance,in violation of

    Title2l,UnitedStatesCode,Section84l(a)(l).
           The controlled substance involved in the conspiracy attributable to R ICA RD O

    JACK SO N,as a result of his own conduct,and the conduct of other conspirators reasonably

    foreseeable to him sis a m ixture and substance containing a detectable am ountofcocaine base,

    com m only known as ûûcrack cocaine,''a Schedule 11controlled substance,in violation ofTitle 21,

    UnitedStatesCode,Section 841(b)(l)(C).
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           ltis furtheralleged thatthe controlled substance involved in the conspiracy attributable to

   R IC ARD O JACK SO N,as a result of his ow n conduct,and the conduct ofother conspirators

    reasonably foreseeable to him , is a m ixture and substance containing a detectable am ount of

    cocaine,a Schedule 11controlled substance,in violation ofTitle 21,united States Code,Section

    841(b)(1)(C).
           Itis furtheralleged thatthe controlled substance involved in the conspiracy attributable to

    R ICA RD O JA CK SON ,as a resultof his 0w n conduct,and the conduct ofother conspirators

    reasonably foreseeable to him ,is a m ixture and substance containing a detectable am ount of

    tram adolhydrochloride,a Schedule IV controlled substance,in violation ofTitle21,United States

    Code,Section841(b)(2).
                                 PUR PO SE O F TH E CO NSPIR ACY

           ltw as the purpose ofthe conspiracy forRICARD O JACK SO N and his co.conspirators

    to distribute controlled substancesforpersonalfinancialgain.

                                            O V ERT A CTS

           Infurtheranceoftheconspiracyandtoaccomplishtheobjectsandpurposethereof,atleast
    one ofthe co-conspirators com m itted and caused to be comm itled, in the Southern D istrict of

    Florida,and elsewhere,atleastoneofthe following overtacts,am ong others:

                    On oraboutJanuary l1,2017,R IC ARDO JA CK SO N supplied a co-conspirator

    with cocaine,which the co-conspiratorthen sold to a confidentialinformantfor$20,while ata

    residence located at 19220 N orthw est35th Avenue,M iam iGardens,Florida.

                    On or aboutJanuary 17,2017,RICAR DO JA CK SO N supplied a co-conspirator

    with cocaine,which the co-conspiratorthen sold to aconfidentialinformantfor$20,while ata
    residence located at 19220 Northwest35th A venue,M iam iGardens,Florida.
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           Allin violation ofTitlc 18,U nitcd StatesCode,Section 37l.

                                  FO RFEITURE ALLE GA TIO NS

                  The allegations of this Inform ation are re-alleged and by this reference fully

    incorporated herein forthe purposesofalleging crim inalforfeitureto the United StatesofA m erica

    ofcertain property in which thedefendant,R ICA RD O JA CK SO N,hasan intercst.

                  Upon conviction ofthe violation alleged in this lnform ation,the defendant shall

    forfeitto the United States any property,realor personal,which constitutes or is derived from

    proceedstraceabletosuchoffense,pursuanttoTitle18,UnitedStatesCode,Section981(a)(l)(C).
           AllpursuanttoTitle 18,UnitedStatesCode,Section981(a)(1)(C)andtheproceduresset
    forth in Title2 1,United StatesCode,Section 853,asincom orated by Title28,United StatesCode,

    Section2461(c).

                                             - --
                                                    7 )(.--Y .                . X,---
                                                                                    '
                                                JUA N AN TON IO GONZA LEZ
                                                ACTING UN ITED STA TES A TTORN EY



                                                H ILLA RY T.IRVIN
                                                A SSISTA NT UN ITED STATES ATTORN EY
Case 1:21-cr-20222-KMW Document 1 Entered on FLSD Docket 04/13/2021 Page 4 of 6
                                        UNITED STATES DISTR ICT COURT
                                       SO UTHERN DISTRICT O F FLORIDA

UNITED STATESO F AM ERICA
 V.
RICARDO JACKSON,                                         CERTIFICA TE O F TRIAL ATTO R NEY*
                                                         Superseding CaseInform ation;
                     Defendant.            /

CourtDivijion:(SelectOne)                                New defendantts)            YeS          No
   x   M lam i          Key W est                       N umberofnew defendants
         F'I'
            L           W PB         FTP                Totalnul
                                                               nberofcounts

                 Ihave carefully considered the allegations ofthe indictment,thenulnberofdefendants,the num berof
                 probablewitnessesand the legalcomplexitiesofthe lndictment/lnformation attachedhereto.
        2.       lam aware thatthe information supplied on this statementwillbe relied upon by the Judges ofthis
                 Courtin setting theircalendars and scheduling crim inaltrials underthe mandate ofthe Speedy Trial
                 Act,Title 28 U.S.C.Section316l.
                 Interpreter:     (YesorNo)        No
                 Listlanguageand/ordialect
        4.       Thiscasewilltake 0 daysforthe pal
                                                 -tiesto try.
                 Please check appropriatecategory andtypeofoffenselistedbelow:

                                                                 (Checkonlyoile)

        l        0 to 5 days                   X                 peay
        II       6 to 10 days                                    M inor
        1Il      lIto 20 days                                    M isdem.
        IV       2lto60days                                      Felony              X
        V        61daysandover
        6.       Hasthiscasepreviouslybeenfiled inthisDistrictCourt?               (YesorNo)      # es
         Ifyes                                           CaseNo.        l7-CR-20299-M ORENO
         (Attachcopyofdispositiveorder)
         Hasacomplaintbeenfiledinthismatter?             (YesorNo)          X0
         lfyes:M agistrate CaseN o.
         Related miscellaneousnumbers:
         Defendantts)infederalcustodyasof               Dec.18,2017-Sept.10,201s,Dec.7,2020-.
                                                                                            1% 19,2021,Febl-uary11,202l-present
         Defendantts)instatecustody asof
         Rule20from theDistrictof
         Isthisapotentialdeathpenaltycase?(YesorNo)                 No
                 Doesthiscaseoriginatefrom a matterpending intheCentralRegion ofthe U.S.Attorney'sOffice
                 priortoAugust9,2013 (Mag.JudgeAlicia0.Valle)?                     Yes            No X
        8.       Doesthiscaseoriginatefrom a matterpending intheNorthern Region oftheU.S.Attorney'sOftice
                 priortoAugust8,2014(M ag.JudgeShaniekM aynard)?                   Yes            No X
                 Doesthiscaseoriginatefrom amatterpending in the CentralRegion oftheU.S.Attorney'sOffice
                 priortoOctober3,2019(Mag.JudgeJared Strauss)?                     Yes X           No


                                                                  HILLA RY IRV IN
                                                                  ASSISTANT UNITED STATES ATTORNEY
                                                                  CourtID N o.A 5502595
  lpenalty Sheetts)attached
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                           UNITED STA TES DISTRICT CO URT
                           SO U TH ERN D ISTRICT O F FLOR ID A

                                      PEN A LTY SHEET

  Defendant's Nam e:R IC ARD O JA CK SO N

   Case N o:

   Count#:l
   Conspiracy to Com m itOffense againstthe United States

  Title l8,U nited States Code,Section 371

   * M ax.Penalty:             5 years'im prisonment




     *Refersonly to possible term ofincarceration,doesnotinclude possible snes,restitution,
            specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
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AO 455(Rev.01/09)W aiverofanlndictment

                                  U NITED STATES D ISTRICT C OURT
                                                     forthe
                                           Southern DistrictofFlorida

                United StatesofAmerica
                             V.                               CaseNo.
                  RICARDO JACKSON,

                         Defendant
                                         W AIVER OF AN INDICTM ENT

         Iunderstandthatlhavebeen accused ofoneorm oreoffensespunishableby im prisonmentformorethan one
        lwasadvised in opencourtofmy rightsand thenatureoftheproposedchargesagainstme.
year.
         Afterreceiving thisadvice,Iwaivemy rightto prosecution by indictmentand consentto prosecution by
 information.




                                                                                 Leonard Fenn
                                                                          Printednameofdefendant'
                                                                                                sattorney
